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NEWS AND POLITICAL COMMENTARY


Satanist Protest Leader, Unmasked!
By Admin on August 14, 2018                                                               0




A Satanist spokesman who uses the alias Lucien Greaves is one of the promoters of the
Satanist rally taking place Thursday, August 16th, at 1 pm cst at the Arkansas State Capitol
in Little Rock, Arkansas. The ShieldWall Network Phalanx, along with their allies and other
non-af liated Christians, will counter-protest the Satanist gathering.


In addition to working to stop investigations of ritual child abuse in order to protect their
fellow Satanists involved in those activities, Satanists have publicly threatened to kill those
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who dare speak out against them during the last week, leading up to the event. This group
supports abortion on request, homosexuality, and miscegenation, as well.


Please sign this online petition to ght ritual Satanic child abuse.


Pictures included: Unmasking Lucien Greaves, leader of the Satan Temple.


But THAT, written by an ally of his as misdirection, is not Lucien Greaves’ real name. His
real name is not Douglas Mesner. His real name is Douglas Alexander Misicko. Born in
1975 in Detroit, Doug is 43.


He and his followers, unlike the lawless, hedonistic rebels they pretend to be, use lawyers
and whiny liberal reporting tactics to try to censor those who disagree with them online,
all the while pretending to support free speech.


According to Misicko’s voter registration, his address was 42708 Wilmington Drive in
Sterling Heights, Michigan. You should probably get that updated, Dougie.


It was an act of hubris to le for tax exempt status on his part, though, because that ling is
now legally and publicly listed on the internet. Reminder, we do not suggest or condone
that anyone do anything illegal to anyone. Strictly for information and educational
purposes, though, yeah, would you like to know the head Satanist’s listed home address?


Mr. Misicko lives, according to the papers he red with the IRS, at 519 Somerville Avenue,
in Somerville, Massachusetts.


Well, either way, right? Here’s information on his mom and dad and other family members.
You decide.


I guess using aliases really doesn’t work too well.


Not even when somebody is gutless enough to use two of them.


Anyway, we’re just scratching the surface here, so to speak. One more service we provide
to the public.
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 ARKANSAS STATE CAPITOL         BILLY ROPER    DOUGLAS MISICKO




                 Admin




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WHO IS BILLY ROPER?


An author of both ction and non ction books, Billy Roper is a former high school and junior
high History, Civics, Economics, and Geography teacher. He has been a candidate for public
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of ce, a lifelong political activist, leader, and spokesman. Mr. Roper has a Bachelor’s degree in
History and Political Science and a Master of Liberal Arts degree in History with a specialty in
Anthropology. He currently resides with his wife, stepson, and other animals in what will
become New America. Mr. Roper is the Coordinator of The ShieldWall Network.




Bitchute

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WHAT IS THE SHIELDWALL NETWORK?


The ShieldWall Network is a White Nationalist prepper's organization. Our goal is to recognize,
anticipate, and prepare for the coming balkanization of America. When the United States
fragments due to increasing division and polarization, racially based ethnostates will rise as
successors to ll that vacuum. The ShieldWall Network is creating real-world af liations now in
order to be ready for that inevitability in the near future. Read more at 'The ShieldWall
Network' above.




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